                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
                 v.                              )     No. 3:21-cr-00264
                                                 )     Chief Judge Crenshaw
                                                 )
 BRIAN KELSEY                                    )
 JOSHUA SMITH                                    )


 MOTION TO CONTINUE SENTENCING HEARINGS AND FOR ADDITIONAL TIME
                      TO RESPOND TO MOTION

       The United States of America, by and through the undersigned attorneys, respectfully

moves this Court to continue Brian Kelsey and Joshua Smith’s sentencing, stay the parties’

deadlines for filing sentencing memoranda to one week prior to the new sentencing date, and

extend the time within which the United States must respond to the Motion to Withdraw Plea

(DE 93, the “Motion”).

       On March 17, 2023, Kelsey filed the Motion. Currently, he and Joshua Smith are

scheduled to be sentenced on March 28, 2023, and sentencing memoranda are due on March 21,

2023. The United States respectfully requests that sentencings be continued to a date after the

Motion is resolved.

       The United States respectfully request two additional weeks to reply to the Motion. In

support thereof, the undersigned is currently in trial before Judge Campbell in United States v.

Gilbert Ghearing, Case No. 2:19-cr-00010, and expects to be in trial until at least March 24, if

not later. Co-counsel, Trial Attorney John Taddei, is involved in a contested sentencing hearing

set in Washington D.C. on April 6. Therefore, the United States requests an extension of the

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deadline within which to respond to the Motion from March 31, 2023, to April 14, 2023.

Counsel for Mr. Kelsey does not oppose this motion.

                                                 Respectfully submitted,

                                                 HENRY C. LEVENTIS
                                                 United States Attorney

                                          By:    /s/ Amanda Klopf____
                                                 AMANDA KLOPF
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to the attorneys of

record for the defendant.

                                                       /s/ Amanda J. Klopf
                                                       AMANDA J. KLOPF
                                                       Assistant United States Attorney
March 17, 2023




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